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14
                                   UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16

17
     ERIC FISHON, individually and on behalf of    Case No. 3:16-CV-06980-RS
18   all others similarly situated,
                                                   Hon. Richard Seeborg
19
                    Plaintiff,                     DEFENDANT PREMIER NUTRITION’S
20                                                 ANSWER TO PLAINTIFF ERIC
            v.                                     FISHON’S FIRST AMENDED
21                                                 COMPLAINT
     PREMIER NUTRITION CORPORATION
22   f/k/a JOINT JUICE, INC.                       CLASS ACTION

23                  Defendant.
                                                   Action Filed: December 05, 2016
24
                                                   Jury Trial Demanded
25

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                                                           PREMIER NUTRITION’S ANSWER TO PLTF.
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 1          Premier Nutrition Company, LLC (formerly known as, and as named in this action,
 2   Premier Nutrition Corporation) (“Premier”) answers the First Amended Class Action Complaint
 3   of Plaintiff Eric Fishon (“Plaintiff”) as follows. Unless otherwise expressly stated below,
 4   Premier denies each and every allegation of the First Amended Complaint (“FAC”).
 5                                    NATURE OF THE ACTION
 6          1.      Paragraph 1 of Plaintiff’s FAC contains legal conclusions, and to that extent does
 7   not require an answer. To the extent that Paragraph 1 requires an answer, Premier admits that it
 8   sells the “Joint Juice” products (hereinafter the “Products”) as a dietary supplement to help
 9   maintain and support joint well-being, as limited by the disclaimer on the Products’ labeling and
10   Joint Juice website and television advertising that states that the Products “are not intended to
11   diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to Premier’s
12   advertising, marketing, packaging, and/or Product labeling, that material speaks for itself.
13   Premier denies each and every other allegation in Paragraph 1 not specifically admitted.
14          2.      Answering Paragraph 2 of Plaintiff’s FAC, Premier admits that it sells the
15   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
16   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
17   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
18   Paragraph 2 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
19   material speaks for itself. Premier denies each and every other allegation in Paragraph 2 not
20   specifically admitted.
21          3.      Answering Paragraph 3 of Plaintiff’s FAC, Premier admits that it sells the
22   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
23   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
24   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
25   Paragraph 3 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
26   material speaks for itself. Premier denies each and every other allegation in Paragraph 3 not
27   specifically admitted.
28
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                                                                PREMIER NUTRITION’S ANSWER TO PLTF.
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 1

 2          4.      Answering Paragraph 4 of Plaintiff’s FAC, Premier admits that it sells the
 3   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
 4   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
 5   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
 6   Paragraph 4 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
 7   material speaks for itself. Premier denies each and every other allegation in Paragraph 4 not
 8   specifically admitted.
 9          5.      Paragraph 5 of Plaintiff’s FAC contains legal conclusions, and to that extent does
10   not require an answer. Premier admits that it has sold over $100 million dollars of the Products
11   in the past nine years. Premier denies each and every other allegation in Paragraph 5 not
12   specifically admitted.
13          6.      Paragraph 6 of Plaintiff’s FAC contains legal conclusions, and to that extent does
14   not require an answer. To the extent that Paragraph 6 requires an answer, Premier denies each of
15   the allegations contained in Paragraph 6.
16          7.      Paragraph 7 of Plaintiff’s FAC contains legal conclusions, and to that extent does
17   not require an answer. To the extent that Paragraph 7 requires an answer, Premier denies each of
18   the allegations contained in Paragraph 7.
19                                   JURISDICTION AND VENUE
20          8.      Paragraph 8 of Plaintiff’s FAC contains legal conclusions, and to that extent does
21   not require an answer.
22          9.      Paragraph 9 of Plaintiff’s FAC contains legal conclusions, and to that extent does
23   not require an answer. To the extent that Paragraph 9 requires an answer, Premier admits that it
24   has marketed, promoted, distributed, and sold the Products in California.
25          10.     Paragraph 10 of Plaintiff’s FAC contains legal conclusions, and to that extent
26   does not require an answer. To the extent that Paragraph 10 requires an answer, Premier admits
27   that it conducts business and is headquartered in the District.
28          11.     Paragraph 11 of Plaintiff’s FAC contains legal conclusions, and to that extent
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                                                                PREMIER NUTRITION’S ANSWER TO PLTF.
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 1   does not require an answer. To the extent that Paragraph 11 requires an answer, Premier admits
 2   that it is currently headquartered in Emeryville, California, which is in Alameda County.
 3                                               PARTIES
 4   Plaintiff
 5          12.      Answering Paragraph 12 of Plaintiff’s FAC, Premier lacks sufficient knowledge
 6   or information to form a belief as to where Mr. Fishon resides, his state of citizenship, whether
 7   he in fact purchased the referenced Product, his belief regarding the Product or its related
 8   advertisements and labeling, and his reasons for allegedly purchasing the Product; on that basis,
 9   Premier denies these allegations in Paragraph 12. To the extent Paragraph 12 refers to the labels
10   on the Product, the labels speak to themselves. Premier denies each and every other allegation in
11   Paragraph 12.
12          13.      Answering Paragraph 13 of Plaintiff’s FAC, Premier lacks sufficient knowledge
13   or information to form a belief as to Mr. Fishon’s beliefs regarding the Product or its related
14   advertisement and labeling, and his reasons for allegedly purchasing the Product; on that basis,
15   Premier denies these allegations in Paragraph 13. Premier denies each and every other
16   allegation in Paragraph 13.
17   Defendant
18          14.      Answering Paragraph 14 of Plaintiff’s FAC, Premier admits that it was formerly
19   a Delaware corporation; effective September 2019, Premier became a limited liability company
20   under the Delaware LLC Act. Premier admits that, as of the date the initial Complaint was filed
21   in this action, it was headquartered at 5905 Christie Avenue, Emeryville, California, 94608;
22   effective October, 2018, Premier is headquartered at 1222 67th Street, Suite 210, Emeryville,
23   CA, 94608. Premier admits that it was previously headquartered at 188 Spear Street, Suite 600,
24   San Francisco, California 94105. Premier admits that, as of August 2013, it became a wholly
25   owned subsidiary of Post Holdings, Inc.; effective September 2019, Premier became a wholly
26   owned subsidiary of Dymatize Enterprises, LLC. Premier admits that it is a manufacturer of
27   high-protein nutrition products, including ready-to-drink shakes, bars, powders, and cookies.
28   Premier admits that it has manufactured, advertised, marketed, distributed, and/or sold the
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                                                                PREMIER NUTRITION’S ANSWER TO PLTF.
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 1   referenced Products throughout the United States, including its website. Premier admits that its
 2   Chief Executive Officer, Chief Financial Officer, Chief Operating Officer, research and
 3   development personnel, and customer service personnel have been located in California,
 4   however, not all marketing or sales employees have been located in California. Premier admits
 5   that its advertising agency was located in San Francisco. The term “retail distribution vendor” is
 6   vague and ambiguous, and therefore Premier lacks sufficient knowledge or information to admit
 7   or deny the allegations regarding its “retail distribution vendor.” Premier denies each and every
 8   other allegation in Paragraph 14.
 9          15.     Answering Paragraph 15 of Plaintiff’s FAC, Premier admits that Joint Juice was
10   formerly a California corporation headquartered at 120 Howard Street, Suite 600, San
11   Francisco, California 94105. Premier admits that it was formerly known as Joint Juice, Inc. and
12   under that name it manufactured, advertised, marketed, distributed, and sold the Products
13   throughout the United States. Premier admits that the date of the acquisition described in
14   Paragraph 15 is accurate. Premier denies each and every other allegation in Paragraph 15.
15          16.     Answering Paragraph 16 of Plaintiff’s FAC, Premier admits that the former CEO
16   of Premier had worked out of San Francisco and that an advertising agency used by Joint Juice
17   was located in San Francisco; however, not all marketing employees have been located in
18   California. Premier admits that the current President of Premier works from Emeryville.
19   Premier admits that the Products were originally developed by Dr. Kevin Stone at the Stone
20   Clinic in San Francisco. Premier denies each and every other allegation in Paragraph 16.
21                                       FACTUAL ALLEGATIONS
22   The Joint Juice Products
23          17.     Answering Paragraph 17 of Plaintiff’s FAC, Premier denies that it has
24   distributed, marketed, and/or sold the Products since 1999.
25          18.     Answering Paragraph 18 of Plaintiff’s FAC, Premier admits that the Products
26   have been sold by the third-party retailers listed in Paragraph 18 and through its website.
27          19.     Answering Paragraph 19 of Plaintiff’s FAC, Premier admits that the Products
28   have been sold as drink mix packets, eight-ounce beverage bottles, and “Easy Shot” bottles.
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                                                               PREMIER NUTRITION’S ANSWER TO PLTF.
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 1   However, the Products are often sold at discounts and retail prices have varied. Premier denies
 2   each and every allegation in Paragraph 19 not specifically admitted.
 3            20.    Answering Paragraph 20 of Plaintiff’s FAC, Premier admits that the Products
 4   contain 1,500 mg of glucosamine hydrochloride plus chondroitin. To the extent Paragraph 20
 5   refers to the Product packaging, the packaging speaks for itself.
 6            21.    Answering Paragraph 21 of Plaintiff’s FAC, Premier admits that the allegations
 7   in Paragraph 21; however, glucosamine used in Premier’s Products has also been derived from
 8   vegetarian sources.
 9            22.    Answering Paragraph 22 of Plaintiff’s FAC, Premier admits that some other
10   glucosamine products contain glucosamine sulfate.
11            23.    Answering Paragraph 23 of Plaintiff’s FAC, Premier admits the allegations in
12   Paragraph 23.
13            24.    Answering Paragraph 24 of Plaintiff’s FAC, Premier denies that glucosamine
14   hydrochloride is always less expensive than glucosamine sulfate.
15            25.    Answering Paragraph 25 of Plaintiff’s FAC, to the extent Paragraph 25
16   references a scientific study, the study speaks for itself. Premier lacks sufficient knowledge or
17   information to admit or deny each and every other allegation in Paragraph 25.
18            26.    Answering Paragraph 26 of Plaintiff’s FAC, Premier admits the allegations in
19   Paragraph 26.
                                                                                    1
20   Defendant’s False and Deceptive Advertising for the Joint Juice Products
21            27.    Answering Paragraph 27 of Plaintiff’s FAC, Premier admits that it sells the
22   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
23   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
24   intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to
25   Premier’s advertising, marketing, packaging, and/or Product labeling, that material has varied
26

27   1
      Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
28   statement requires an answer, Premier denies this allegation in its entirety.
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                                                                PREMIER NUTRITION’S ANSWER TO PLTF.
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 1   over time and speaks for itself. Premier denies each and every other allegation in Paragraph 27
 2   not specifically admitted.
 3          28.     Answering Paragraph 28 of Plaintiff’s FAC, Premier admits that glucosamine
 4   hydrochloride and chondroitin sulfate are active ingredients in the Products. To the extent
 5   Plaintiff refers to Premier’s advertising, marketing, packaging, and/or Product labeling, that
 6   material speaks for itself. Premier denies each and every other allegation in Paragraph 28 not
 7   specifically admitted.
 8          29.     Answering Paragraph 29 of Plaintiff’s FAC, Premier admits that it sells the
 9   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
10   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
11   intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to
12   Premier’s advertising, marketing, packaging and/or Product labeling, that material speaks for
13   itself. Premier denies each and every other allegation in Paragraph 29 not specifically admitted.
14          30.     Answering Paragraph 30 of Plaintiff’s FAC, to the extent the allegations in
15   Paragraph 30 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
16   material speaks for itself. Premier denies each and every other allegation in Paragraph 30.
17          31.     Answering Paragraph 31 of Plaintiff’s FAC, Premier admits that it sells the
18   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
19   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
20   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
21   Paragraph 31 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
22   material speaks for itself. Premier denies each and every other allegation in Paragraph 31 not
23   specifically admitted.
24          32.     Paragraph 32 of Plaintiff’s FAC contains legal conclusions, and to that extent
25   does not require an answer. To the extent the allegations in Paragraph 32 require an answer, and
26   to the extent the allegations refer to Premier’s advertising, marketing, packaging, and/or Product
27   labeling, that material speaks for itself. To the extent the allegations in Paragraph 32 do not
28   accurately reflect the above-mentioned material, Premier denies the allegations. Premier denies
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 1   each and every other allegation in Paragraph 32 not specifically admitted.
 2            33.    To the extent the allegations in Paragraph 33 refer to any of Premier’s
 3   advertising, marketing, packaging, and/or Product labeling, including on its website, that
 4   material speaks for itself. Premier denies each and every other allegation in Paragraph 33.
 5            34.    Answering Paragraph 34 of Plaintiff’s FAC, Premier admits that former
 6   professional football player Joe Montana was a spokesman for the Products. To the extent the
 7   allegations in Paragraph 34 refer to Premier’s advertising, marketing, packaging, and/or Product
 8   labeling, including Joe Montana’s statements for Premier’s television commercial, that material
 9   speaks for itself. Premier denies each and every other allegation in Paragraph 34 not specifically
10   admitted.
11            35.    Answering Paragraph 35 of Plaintiff’s FAC, Premier admits that Products’
12   packaging features the Arthritis Foundation Logo. To the extent the allegations in Paragraph 35
13   refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that material
14   speaks for itself. Premier denies each and every other allegation in Paragraph 35 not specifically
15   admitted.
16            36.    To the extent the allegations in Paragraph 36 refer to Premier’s packaging,
17   advertising, marketing, and/or Product labeling, that material speaks for itself. Premier denies
18   each and every other allegation in Paragraph 36 not specifically admitted.
19            37.    Answering Paragraph 37 of Plaintiff’s FAC, Premier admits that the pictures
20   included in Plaintiff’s FAC appear to be accurate, partial representations of the current
21   packaging of certain Products.
22   Scientific Studies Confirm That Joint Juice Is Not Effective And Defendant’s Health Benefits
                                       2
23   Message Is False And Deceptive
24            38.    Answering Paragraph 38 of Plaintiff’s FAC, Premier denies the allegations in
25   Paragraph 38.
26

27   2
      Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
28   statement requires an answer, Premier denies this allegation in its entirety.
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 1          39.      Answering Paragraph 39 of Plaintiff’s FAC, Premier admits that Paragraph 39
 2   accurately quotes the Reference Manual on Scientific Evidence. Premier denies that all meta-
 3   analysis studies have concluded that glucosamine and chondroitin do nothing. Premier denies
 4   each and every other allegation in Paragraph 39 not specifically admitted.
 5          40.      Without admitting that the study cited in Paragraph 40 of Plaintiff’s FAC is
 6   relevant to this action, that study speaks for itself and, on that basis, Paragraph 40 does not
 7   require an answer. However, to the extent the allegations in Paragraph 40 do not accurately
 8   reflect the study, Premier denies the allegations.
 9          41.      Without admitting that the study cited in Paragraph 41 of Plaintiff’s FAC is
10   relevant to this action, that study speaks for itself and, on that basis, Paragraph 41 does not
11   require an answer. However, to the extent the allegations in Paragraph 41 do not accurately
12   reflect the study, Premier denies the allegations.
13          42.      Without admitting that the study cited in Paragraph 42 of Plaintiff’s FAC is
14   relevant to this action, that study speaks for itself and, on that basis, Paragraph 42 does not
15   require an answer. However, to the extent the allegations in Paragraph 42 do not accurately
16   reflect the study, Premier denies the allegations.
17          43.      Without admitting that the study cited in Paragraph 43 of Plaintiff’s FAC is
18   relevant to this action, that study speaks for itself and, on that basis, Paragraph 43 does not
19   require an answer. However, to the extent the allegations in Paragraph 43 do not accurately
20   reflect the study, Premier denies the allegations.
21          44.      Answering Paragraph 44 of the FAC, Plaintiff does not identify the studies on
22   which he bases his allegations and accordingly, Premier lacks sufficient knowledge or
23   information to form a belief as to those studies.
24          45.      Without admitting that the study cited in Paragraph 45 of Plaintiff’s FAC is
25   relevant to this action, that study speaks for itself and, on that basis, Paragraph 45 does not
26   require an answer. However, to the extent the allegations in Paragraph 45 do not accurately
27   reflect the study, Premier denies the allegations. Premier denies remaining allegations in
28   Paragraph 45.
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 1          46.     Without admitting that the studies cited in Paragraph 46 of Plaintiff’s FAC are
 2   relevant to this action, those studies speak for themselves and, on that basis, Paragraph 46 does
 3   not require an answer. However, to the extent the allegations in Paragraph 46 do not accurately
 4   reflect those studies, Premier denies the allegations.
 5          47.     Without admitting that the study cited in Paragraph 47 of Plaintiff’s FAC is
 6   relevant to this action, that study speaks for itself and, on that basis, Paragraph 47 does not
 7   require an answer. However, to the extent the allegations in Paragraph 47 do not accurately
 8   reflect the study, Premier denies the allegations.
 9          48.     Without admitting that the studies cited in Paragraph 48 of Plaintiff’s FAC are
10   relevant to this action, those studies speak for themselves and, on that basis, Paragraph 48 does
11   not require an answer. However, to the extent the allegations in Paragraph 48 do not accurately
12   reflect the studies, Premier denies the allegations.
13          49.     Without admitting that the study cited in Paragraph 49 of Plaintiff’s FAC is
14   relevant to this action, that study speaks for itself and, on that basis, Paragraph 49 does not
15   require an answer. However, to the extent the allegations in Paragraph 49 do not accurately
16   reflect the study, Premier denies the allegations.
17          50.     Answering Paragraph 50 of Plaintiff’s FAC, Plaintiff does not identify the
18   studies on which he bases his allegations and accordingly, Premier lacks sufficient knowledge
19   or information to form a belief as to those studies.
20          51.     Answering Paragraph 51 of Plaintiff’s FAC, Plaintiff does not identify the
21   studies on which he bases his allegations and accordingly, Premier lacks sufficient knowledge
22   or information to form a belief as to those studies.
23          52.     Without admitting that the study cited in Paragraph 52 of Plaintiff’s FAC is
24   relevant to this action, that study speaks for itself and, on that basis, Paragraph 52 does not
25   require an answer. However, to the extent the allegations in Paragraph 52 do not accurately
26   reflect the study, Premier denies the allegations.
27          53.     Without admitting that the study cited in Paragraph 53 of Plaintiff’s FAC is
28   relevant to this action, that study speaks for itself and, on that basis, Paragraph 53 does not
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                                                                    PREMIER NUTRITION’S ANSWER TO PLTF.
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 1   require an answer. However, to the extent the allegations in Paragraph 53 do not accurately
 2   reflect the study, Premier denies the allegations.
 3          54.     Answering Paragraph 54 of Plaintiff’s FAC, Premier denies that there is uniform
 4   consensus that glucosamine and chondroitin do not work. Without admitting that the guidelines
 5   cited in Paragraph 54 of Plaintiff’s FAC are relevant to this action, the guidelines speak for
 6   themselves and, to that extent, Paragraph 54 does not require an answer. However, to the extent
 7   the allegations in Paragraph 54 do not accurately reflect the guidelines, Premier denies the
 8   allegations. Premier denies each and every other allegation not specifically admitted.
 9          55.     Without admitting that the studies and guidelines cited in Paragraph 55 of
10   Plaintiff’s FAC are relevant to this action, the studies and guidelines speak for themselves and,
11   on that basis, Paragraph 55 does not require an answer. However, to the extent the allegations in
12   Paragraph 55 do not accurately reflect the studies and guidelines, Premier denies the allegations.
13          56.     Without admitting that the guidelines cited in Paragraph 56 of Plaintiff’s FAC
14   are relevant to this action, the guidelines speak for themselves and, on that basis, Paragraph 56
15   does not require an answer. However, to the extent the allegations in Paragraph 56 do not
16   accurately reflect the guidelines, Premier denies the allegations.
17          57.     Without admitting that the guidelines cited in Paragraph 57 of Plaintiff’s FAC
18   are relevant to this action, the guidelines speak for themselves and, on that basis, Paragraph 57
19   does not require an answer. However, to the extent the allegations in Paragraph 57 do not
20   accurately reflect the guidelines, Premier denies the allegations.
21          58.     Without admitting that the study cited in Paragraph 58 of Plaintiff’s FAC is
22   relevant to this action, that study speaks for itself and, on that basis, Paragraph 58 does not
23   require an answer. However, to the extent the allegations in Paragraph 58 do not accurately
24   reflect the study, Premier denies the allegations.
25          59.     Without admitting that the study cited in Paragraph 59 of Plaintiff’s FAC is
26   relevant to this action, that study speaks for itself and, on that basis, Paragraph 59 does not
27   require an answer. However, to the extent the allegations in Paragraph 59 do not accurately
28   reflect the study, Premier denies the allegations. Premier denies each and every other allegation
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                                                                    PREMIER NUTRITION’S ANSWER TO PLTF.
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 1   in Paragraph 59.
 2            60.    Without admitting that the study cited in Paragraph 60 of Plaintiff’s FAC is
 3   relevant to this action, that study speaks for itself and on that basis, Paragraph 60 does not
 4   require an answer. However, to the extent the allegations in Paragraph 60 do not accurately
 5   reflect the study, Premier denies the allegations.
 6            61.    Without admitting that the study cited in Paragraph 61 of Plaintiff’s FAC is
 7   relevant to this action, that study speaks for itself and, on that basis, Paragraph 61 does not
 8   require an answer. However, to the extent the allegations in Paragraph 61 do not accurately
 9   reflect the study, Premier denies the allegations.
10            62.    Without admitting that the study cited in Paragraph 62 of Plaintiff’s FAC is
11   relevant to this action, that study speaks for itself and, on that basis, Paragraph 62 does not
12   require an answer. However, to the extent the allegations in Paragraph 62 do not accurately
13   reflect the study, Premier denies the allegations.
14            63.    Without admitting that the study cited in Paragraph 63 of Plaintiff’s FAC is
15   relevant to this action, that study speaks for itself and, on that basis, Paragraph 63 does not
16   require an answer. However, to the extent the allegations in Paragraph 63 do not accurately
17   reflect the study, Premier denies the allegations.
18            64.    Without admitting that the study cited in Paragraph 64 of Plaintiff’s FAC is
19   relevant to this action, that study speaks for itself and, on that basis, Paragraph 64 does not
20   require an answer. However, to the extent the allegations in Paragraph 64 do not accurately
21   reflect the study, Premier denies the allegations.
                                                       3
22   The Impact of Defendant’s Wrongful Conduct
23            65.    Answering Paragraph 65 of Plaintiff’s FAC, Premier admits that it sells the
24   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
25   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
26

27   3
      Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
28   statement requires an answer, Premier denies this allegation in its entirety.
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                                                                    PREMIER NUTRITION’S ANSWER TO PLTF.
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 1   intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to
 2   Premier’s advertising, marketing, packaging, and/or Product labeling, that material has varied
 3   over time and speaks for itself. Premier denies each and every other allegation in Paragraph 65
 4   not specifically admitted.
 5          66.     Answering Paragraph 66 of Plaintiff’s FAC, Paragraph 66 contains legal
 6   conclusions and to that extent does not require an answer.
 7          67.     Answering Paragraph 67 of Plaintiff’s FAC, Premier denies each of the
 8   allegations contained in Paragraph 67.
 9          68.     Paragraph 68 of Plaintiff’s FAC contains legal conclusions, and to that extent
10   does not require an answer. To the extent that Paragraph 68 requires an answer, Premier lacks
11   sufficient knowledge or information to form a belief as to whether Mr. Fishon purchased the
12   referenced Product, his belief regarding the Product or its related advertisement or labeling, and
13   his reasons for allegedly purchasing the product; on that basis, Premier denies these allegations
14   in Paragraph 68. Premier denies each and every other allegation in Paragraph 68.
15          69.     Answering Paragraph 69 of Plaintiff’s FAC, retail prices for the Products have
16   varied. Premier denies each and every other allegation in Paragraph 69.
17                           CLASS DEFINITION AND ALLEGATIONS
18          70.     Paragraph 70 of Plaintiff’s FAC contains legal conclusions, and to that extent
19   does not require an answer. To the extent that Paragraph 70 requires an answer, Premier denies
20   each of the allegations contained in Paragraph 70.
21          71.     Paragraph 71 of Plaintiff’s FAC contains legal conclusions, and to that extent
22   does not require an answer. To the extent that Paragraph 71 requires an answer, Premier denies
23   each of the allegations contained in Paragraph 71.
24          72.     Paragraph 72 of Plaintiff’s FAC contains legal conclusions, and to that extent
25   does not require an answer. To the extent that Paragraph 72 requires an answer, Premier denies
26   each of the allegations contained in Paragraph 72.
27          73.     Paragraph 73 of Plaintiff’s FAC contains legal conclusions, and to that extent
28   does not require an answer. To the extent that Paragraph 73 requires an answer, Premier denies
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 1   each of the allegations contained in Paragraph 73.
 2          74.     Paragraph 74 of Plaintiff’s FAC contains legal conclusions, and to that extent
 3   does not require an answer. To the extent that Paragraph 74 requires an answer, Premier denies
 4   each of the allegations contained in Paragraph 74.
 5          75.     Paragraph 75 of Plaintiff’s FAC contains legal conclusions, and to that extent
 6   does not require an answer. To the extent that Paragraph 75 requires an answer, Premier denies
 7   each of the allegations contained in Paragraph 75.
 8          76.     Paragraph 76 of Plaintiff’s FAC contains legal conclusions, and to that extent
 9   does not require an answer. To the extent that Paragraph 76 requires an answer, Premier denies
10   each of the allegations contained in Paragraph 76.
11          77.     Paragraph 77 of Plaintiff’s FAC contains legal conclusions, and to that extent
12   does not require an answer. To the extent that Paragraph 77 requires an answer, Premier denies
13   each of the allegations contained in Paragraph 77.
14                                        CLAIMS ALLEGED
15                                              COUNT I
16                Violation of the New York General Business Law §§ 349 and 350.
17          78.     Answering Paragraph 78 of Plaintiff’s FAC, Premier incorporates by reference
18   and repleads all of the admissions, denials, and allegations contained in Paragraph 1-77 above.
19          79.     Paragraph 79 of Plaintiff’s FAC contains legal conclusions, and to that extent
20   does not require an answer. To the extent that Paragraph 79 requires an answer, Premier denies
21   each of the allegations contained in Paragraph 79.
22          80.     Answering Paragraph 80 of Plaintiff’s FAC, Premier admits that Paragraph 80
23   contains an accurate partial quote of Section 349(a) of New York General Business Law.
24          81.     Answering Paragraph 81 of Plaintiff’s FAC, Premier admits that Paragraph 81
25   contains an accurate partial quote of Section 350 of New York General Business Law.
26          82.     Paragraph 82 of Plaintiff’s FAC contains legal conclusions, and to that extent
27   does not require an answer. To the extent that Paragraph 82 requires an answer, Premier denies
28   each of the allegations contained in Paragraph 82.
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 1          83.     Paragraph 83 of Plaintiff’s FAC contains legal conclusions, and to that extent
 2   does not require an answer. To the extent that Paragraph 83 requires an answer, Premier denies
 3   each of the allegations contained in Paragraph 83.
 4          84.     Paragraph 84 of Plaintiff’s FAC contains legal conclusions, and to that extent
 5   does not require an answer. To the extent that Paragraph 84 requires an answer, Premier denies
 6   each of the allegations contained in Paragraph 84.
 7          85.     Paragraph 85 of Plaintiff’s FAC contains legal conclusions, and to that extent
 8   does not require an answer. To the extent that Paragraph 85 requires an answer, Premier denies
 9   each of the allegations contained in Paragraph 85.
10          86.     Paragraph 86 of Plaintiff’s FAC contains legal conclusions, and to that extent
11   does not require an answer. To the extent that Paragraph 86 requires an answer, Premier denies
12   each of the allegations contained in Paragraph 86.
13          87.     Paragraph 87 of Plaintiff’s FAC contains legal conclusions, and to that extent
14   does not require an answer. To the extent that Paragraph 87 requires an answer, Premier denies
15   each of the allegations contained in Paragraph 87.
16          88.     Paragraph 88 of Plaintiff’s FAC contains legal conclusions, and to that extent
17   does not require an answer. To the extent that Paragraph 88 requires an answer, Premier denies
18   each of the allegations contained in Paragraph 88.
19          89.     Paragraph 89 of Plaintiff’s FAC contains legal conclusions, and to that extent
20   does not require an answer. To the extent that Paragraph 89 requires an answer, Premier denies
21   each of the allegations contained in Paragraph 89.
22          90.     Paragraph 90 of Plaintiff’s FAC contains legal conclusions, and to that extent
23   does not require an answer. To the extent that Paragraph 90 requires an answer, Premier denies
24   each of the allegations contained in Paragraph 90.
25                                           JURY DEMAND
26          Premier respectfully makes a demand for a trial by jury on claims and issues so triable.
27                                      REQUEST FOR RELIEF
28          Premier denies that Plaintiff is entitled to any of the relief sought in his Request for
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 1   Relief.
 2                                        AFFIRMATIVE DEFENSES
 3             Without assuming the burden of proof on any matters that would otherwise rest with
 4   Plaintiff, and expressly denying any and all wrongdoing, Premier alleges the following
 5   additional reasons why Plaintiff is not entitled to any relief:
 6                                    FIRST AFFIRMATIVE DEFENSE
 7                                       (Equitable Relief Unavailable)
 8             Plaintiff is not entitled to equitable relief because, if Plaintiff is entitled to a remedy,
 9   which Premier denies, Plaintiff has adequate legal remedies. No threat of immediate harm exists
10   sufficient to support a grant of injunctive relief.
11                                   SECOND AFFIRMATIVE DEFENSE
12                                          (Failure to State a Claim)
13             The FAC fails to state a claim against Premier on which relief can be granted.
14                                    THIRD AFFIRMATIVE DEFENSE
15                                                 (No Standing)
16             Plaintiff is not entitled to relief under the statutes and legal theories invoked in his FAC
17   because plaintiff lacks standing.
18                                  FOURTH AFFIRMATIVE DEFENSE
19                                       (No Deceptive Act or Practice)
20             Plaintiff’s claims are barred, in whole or in part, because there was no deceptive act or
21   practice. Each and every representation and advertisement for the Products clearly and
22   accurately portrayed the characteristics, ingredients, uses, benefits, quantities, standard, quality,
23   and grade of the Products.
24                                    FIFTH AFFIRMATIVE DEFENSE
25                                            (No Intent to Deceive)
26             Plaintiff is precluded from recovery on his fraud- and misrepresentation-based claims
27   because the misrepresentations and actions alleged by Plaintiff were not intended to deceive
28   Plaintiff.
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 1                                   SIXTH AFFIRMATIVE DEFENSE
 2                                     (Not Likely to Mislead Public)
 3          None of Premier’s acts, conduct, omissions, or statements alleged in the FAC were
 4   likely to mislead the public.
 5                                 SEVENTH AFFIRMATIVE DEFENSE
 6                                      (Lack of Justifiable Reliance)
 7          Plaintiff’s claims are barred, in whole or in part, because Plaintiff knew, at all times, the
 8   characteristics, ingredients, uses, benefits, quantities, standard, quality, and grade of the joint
 9   Juice Products and therefore could not have justifiably relied on the alleged misrepresentation or
10   omissions asserted in his FAC.
11                                   EIGHTH AFFIRMATIVE DEFENSE
12                                        (Performance of Duties)
13          Premier has fully performed any and all contractual, statutory, and other duties, and
14   Plaintiff is therefore estopped from asserting any cause of action against Premier.
15                                   NINETH AFFIRMATIVE DEFENSE
16                                       (Substantial Compliance)
17          Premier has substantially complied with the requirements of the law as they pertain to
18   this lawsuit and such substantial compliance bars Plaintiff’s claims.
19                                   TENTH AFFIRMATIVE DEFENSE
20                                              (Preemption)
21          All or some of the alleged causes of action are preempted by federal law.
22                              ELEVENTH AFFIRMATIVE DEFENSE
23                                              (Safe Harbor)
24          Plaintiff’s allegations do not state a claim, because Premier’s conduct was, and is,
25   authorized by federal and state law.
26                               TWELFTH AFFIRMATIVE DEFENSE
27                      (Actions Pursuant to Local, State or Federal Authority)
28          Premier is not liable for any acts or omissions undertaken by or at the direction of local,
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 1   state or federal authority, including, without limitation, acts or omissions made in accordance
 2   with regulations, ordinances, statutes, and laws applicable at the time of the acts or omissions at
 3   issue.
 4                             THIRTEENTH AFFIRMATIVE DEFENSE
 5                                         (Conduct Not Unfair)
 6            The representations and advertising regarding the Products are not unfair. No
 7   representation or advertisement contains any false or misleading statement or promises any
 8   good not intended to be delivered. As such, the representations and advertising are not, and
 9   were not, unfair.
10                            FOURTEENTH AFFIRMATIVE DEFENSE
11                                        (Conduct Not Unlawful)
12            The representations and advertising regarding the Products are not unlawful because
13   they are not, and were not, in violation of any law or regulation.
14                              FIFTEENTH AFFIRMATIVE DEFENSE
15                                             (Cause in Fact)
16            No act or omission by Premier or by any person or entity for which Premier was
17   responsible was the cause of any injury in fact, damages, or loss of money or property alleged
18   by Plaintiff.
19                              SIXTEENTH AFFIRMATIVE DEFENSE
20                                         (No Proximate Cause)
21            Plaintiff’s claims are barred, in whole or in part, because Premier has not engaged in any
22   activity or conduct that is a proximate cause of any injury in fact, damages, or loss of money or
23   property alleged by Plaintiff.
24                            SEVENTEENTH AFFIRMATIVE DEFENSE
25                                         (Superseding Causes)
26            Any and all violations alleged in Plaintiff’s FAC were the result of superseding or
27   intervening causes arising from the acts or omissions of parties that Premier neither controlled
28   nor had a legal right to control, and such alleged violations were not proximately or otherwise
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 1   caused by any act, omission, or other conduct of Premier.
 2                               EIGHTEENTH AFFIRMATIVE DEFENSE
 3                                            (Failure to Mitigate)
 4             If Plaintiff has suffered any damages or injury in fact, which Premier expressly denies,
 5   Premier alleges that Plaintiff’s recovery is barred by his failure to mitigate, reduce, or otherwise
 6   avoid damages or injuries.
 7                               NINETEENTH AFFIRMATIVE DEFENSE
 8                                           (Aggravation of Harm)
 9             To the extent any harm exists, Premier is informed and believes and, on that basis,
10   alleges that Plaintiff’s actions have aggravated such harm, and thus, any recovery from
11   Plaintiff’s FAC for such harm should be barred or reduced accordingly.
12                               TWENTIETH AFFIRMATIVE DEFENSE
13                              (Equitable Estoppel and Equitable Indemnity)
14             Based on Plaintiff’s conduct, Plaintiff’s claims are barred by the doctrines of equitable
15   estoppel and equitable indemnity.
16                              TWENTY-FIRST AFFIRMATIVE DEFENSE
17                                    (Res Judicata and Collateral Estoppel)
18             All or some of Plaintiff’s alleged claims and issues are barred by prior judgment by the
19   doctrines of res judicata and collateral estoppel.
20                           TWENTY-SECOND AFFIRMATIVE DEFENSE
21                                                  (Waiver)
22             Based on Plaintiff’s conduct, Plaintiff’s claims are barred by the doctrine of waiver.
23                              TWENTY-THIRD AFFIRMATIVE DEFENSE
24                                           (Statute of Limitations)
25             Plaintiff’s claims and damages are barred, reduced, and/or limited by the applicable
26   statutes of limitations.
27   //
28   //
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 1                         TWENTY-FOURTH AFFIRMATIVE DEFENSE
 2                                                 (Laches)
 3          By virtue of Plaintiff’s unreasonable delay in commencing this action, which duly has
 4   caused prejudice to Premier, the FAC and each purported cause of action asserted therein are
 5   barred by the doctrine of laches.
 6                          TWENTY-FIFTH AFFIRMATIVE DEFENSE
 7                                             (Unclean Hands)
 8          The FAC and each and every purported claim against Premier is barred by the doctrine
 9   of unclean hands in that Plaintiff’s own actions have caused the damages Plaintiff may have
10   incurred, if any.
11                          TWENTY-SIXTH AFFIRMATIVE DEFENSE
12                                             (No Actual Injury)
13          Plaintiff is not entitled to relief under the legal theories invoked in the FAC because
14   Plaintiff suffered no actual injury and suffered no damages.
15                        TWENTY-SEVENTH AFFIRMATIVE DEFENSE
16                                 (Not Maintainable As Class Action)
17          Premier alleges that this action is barred in whole or in part because Plaintiff’s claims
18   are not maintainable as a class action.
19                         TWENTY-EIGHTH AFFIRMATIVE DEFENSE
20                                          (Unjust Enrichment)
21          Any award to the Plaintiff in this action would constitute unjust enrichment.
22                          TWENTY-NINTH AFFIRMATIVE DEFENSE
23                                       (Attorneys’ Fees Improper)
24          Plaintiff’s FAC fails to state a claim or set forth facts sufficient to support a claim for
25   attorneys’ fees.
26                             THIRTIETH AFFIRMATIVE DEFENSE
27                                               (Uncertainty)
28          The FAC and the cause of action therein presented are vague, ambiguous, and uncertain.
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 1   Premier reserves the right to add additional defenses as the factual bases for each of Plaintiff’s
 2   claims and allegations becomes known.
 3                           THIRTY-FIRST AFFIRMATIVE DEFENSE
 4                                                (Puffing)
 5          Plaintiff’s claims are barred to the extent that any alleged deceptive statements constitute
 6   puffery, and no reasonable person in Plaintiff’s position could have reasonably relied on or
 7   misunderstood Premier’s statements.
 8                          THIRTY-SECOND AFFIRMATIVE DEFENSE
 9                                               (Mootness)
10          Plaintiff is not entitled to an injunction to the extent Premier has already ceased the
11   allegedly unlawful conduct.
12                           THIRTY-THIRD AFFIRMATIVE DEFENSE
13                                   (Equities in Favor of Defendants)
14          Plaintiff is barred from recovering the relief sought in the FAC because the equities
15   weigh in favor of Premier.
16                          THIRTY-FOURTH AFFIRMATIVE DEFENSE
17                                  (Violation of Right to Free Speech)
18          To the extent Plaintiff purports to seek equitable relief to mandate the specific content of
19   Premier’s advertising or the content of the Products labels, Plaintiff’s FAC violates Premier’s
20   right to freedom of speech under the First Amendment of the United States Constitution and the
21   New York Constitution, Article I, § 8.
22                           THIRTY-FIFTH AFFIRMATIVE DEFENSE
23                                                (Set-off)
24          Any recovery by plaintiff should be offset and diminished by the value to the general
25   public of the use of the Products.
26                           THIRTY-SIXTH AFFIRMATIVE DEFENSE
27                                 (Punitive Damages Are Not Available)
28          Plaintiff’s claims do not permit the recovery of punitive damages.
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 1                         THIRTY-SEVENTH AFFIRMATIVE DEFENSE
 2                                 (Reservation of Additional Defenses)
 3          Premier hereby reserves the right to amend its answer to raise additional affirmative
 4   defenses as they become available or apparent to it through discovery in this matter or
 5   otherwise.
 6   WHEREFORE, having fully answered Plaintiff’s FAC, Premier prays for judgment as follows:
 7          1.      That Plaintiff takes nothing for his FAC and that the FAC be dismissed with
 8                  prejudice;
 9          2.      That the request for injunctive relief be denied;
10          3.      That Premier be awarded its costs of suit;
11          4.      That the request for attorneys’ fees and costs by Plaintiff and his counsel be
12                  denied; and,
13          5.      For such other and further relief as the Court deems just and proper.
14

15    Dated: May 5, 2021
16                                                   VENABLE LLP
17
                                                     /s/ Angel A. Garganta
18                                                   By:
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25

26                                                   Attorneys for Defendant

27

28
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